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MARCEREAU & NAZIF

Robert H. Marcereau (SBN 211534)
Sy Nazif (SBN 228949)

26000 Towne Centre Drive, Suite 230
Foothill Ranch, CA 92610

Tel: (949) 331-6500

Fax: (949) 531-6501

Kelli Peters, Bill Peters and Sydnie Peters

In re:

Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
Easter

Kelli Peters, Bill Peters and Sydnie Peters,
Plaintiffs,
VS.
Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.

Easter,
Defendants.

INTEREST:

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ATTORNEYS FOR CREDITORS and PLAINTIFFS

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

Case No. 8:16-bk-10223-ES
Adversary Case No.: 8:16-ap-01114-ES

PLAINTIFF’S SEPARATE
STATEMENT OF UNDISPUTED
FACTS IN SUPPORT OF MOTION
FOR SUMMARY JUDGMENT

[Notice of Motion and Motion;
Memorandum of Points and Authorities;
Declaration of Robert H. Marcereau;
Request for Judicial Notice; and Notice of
Related Cases filed concurrently]

Date: November 10, 2016
Time: 10:30 a.m.
Department: 5A

TO THE HONORABLE ERITHE A. SMITH, UNITED STATES
BANKRUPTCY JUDGE, THE DEFENDANT, AND OTHER PARTIES-IN-

Plaintiffs Keili Peters, Biil Peters and Sydnie Peters. (“Plaintiff”) submits the
following statement of undisputed facts in support of their “Motion for Summary

Judgment” in the above-captioned adversary proceeding:

1

PLAINTIFFS’ MEMORANDUM OF POINT AND AUTHORITIES IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

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UNDISPUTED FACTS

SUPPORTING EVIDENCE

On or about February 16, 2011, Kent
Easter and Jill Easter conspired to
and did plant Vicodin, Percocet,
Marijuana, and a used Marijuana
pipe in the back seat of Mrs. Peters’

car.

Declaration of Robert H. Marcereau
(“Marcereau Declaration”) at [9j4, 7, 8.
Exhibit 3 41.

Exhibit 4 Trial Testimony of Kelli
Peters [p.74:1-17].

Exhibit 5 Trial Testimony of Officer
Charles Shaver [p. 145:7-18];

Defendant Kent Easter [p. 184:4-6; 22-

26; p.185:1-8; p. 191:11-16.]

After the drugs were planted in Mrs.
Peters’ car, Kent Easter then called
the Irvine police, falsely telling the
police that he was a “concerned
parent” who had witnessed Mrs.
Peters driving erratically in the
parking lot of the elementary school
where Mrs. Peters worked as a
volunteer. Mr. Easter falsely told the
police that he had witnessed Mrs.
Peters (a) driving erratically; (b)
using drugs; (c) placing a large
quantity of illegal drugs in the
backseat of her car; and (d) entering
the school where numerous children

were present. In an attempt to cover

Ta.

2

PLAINTIFFS’ MEMORANDUM OF POINT AND AUTHORITIES IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

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UNDISPUTED FACTS

SUPPORTING EVIDENCE

his tracks, Mr. Easter gave the police
a phony name, telephone number
and address, and spoke with a phony

Indian accent.

The Irvine Police acted on Mr.
Easter’s false report and went to the
school to investigate. When Irvine
police officers arrived at the school,
they found Mrs. Peters’ car in the
parking lot, looked through the
window, and saw the bag of drugs
behind the driver’s seat, just as Mr.
Easter had described in his phony

police report.

Marcereau Decl., 7, 8.

Exhibit 3 41.

Exhibit 5 Trial Testimony of Officer
Charles Shaver [p.145:7-18; p. 146:1-
7).

The police officers then entered the
school, tracked down Mrs. Peters
and, in front of children, parents,
school administrators, volunteers and
Mrs. Peters’ ten year old child, took
Mrs. Peters into custody and

escorted her outside the building.

Marcereau Decl. at { 10.

Exhibit 4 Trial Testimony of Kelli
Peters [p. 74:18-26; p. 75:1-26; p.
76:1-26; p. 77:1-7.

Exhibit 5 Trial Testimony of Officer
Charles Shaver [p. 152:22-26; p.153:1-
5.

The police searched Mrs. Peters car,
pulled out the drugs, and laid them
on the hood of a nearby police car.

Mrs. Peters was then forced to sit on

Marcereau Decl. at 8.

Exhibit 3 [J 1 and 4.

Exhibit 4 Trial Testimony of Kelli
Peters p.74:18-p.78:15.

PLAINTIFFS’ MEMORANDUM OF POINT AND AUTHORITIES IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

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UNDISPUTED FACTS SUPPORTING EVIDENCE
the curb in the school parking lot
like a criminal, next to the array of e Exhibit 5 Trial Testimony of Officer
drugs and drug paraphernalia, for all Charles Shaver p.145:5-19; p.148:25-
to see. Mrs. Peters was detained at 149:13; p.150:1-24; p.151:14-26
the school for over two hours while p.152:22-153:5.]
the police conducted their
investigation. Distraught and afraid,
Mrs. Peters was crying and shaking
uncontrollably.

6. Mrs. Peters’ husband, Bill, was « Marcereau Decl. at { 10.

summoned by Police to the school, e Exhibit 4 Trial Testimony of Kelli
and was present during the Peters [p. 77:16-78:13.]
investigation.

7. The police then escorted Mrs. Peters |* Marcereau Decl. at ¥ 10.
and her family back to their home, e Exhibit 4 Trial Testimony of Kelli
where they conducted a search of the Peters [p.79:24-80:7; p.80:16-81:18; p.
premises. While Mrs. Peters, her 81:19-p.83:5.]
husband and their young daughter
Sydnie watched in nervous shock,
the police searched their home,
including bedrooms, bathrooms, the
garage and the patio. CSI later

showed up at the Peters’ home and

took DNA samples of Mrs. Peters,

4

PLAINTIFFS’ MEMORANDUM OF POINT AND AUTHORITIES IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

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UNDISPUTED FACTS

SUPPORTING EVIDENCE

Mr. Peters and their child with
intrusive cheek swabs. The Peters

family were afraid and humiliated.

For several months, the Peters
remained fearful that someone was
out to hurt or kill them, and that Mrs.
Peters might still be arrested and
convicted of crimes she did not
commit. Mrs. Peters was so upset
that her hair began to fall out. Bill
Peters became so distraught that he
began to suffer panic attacks. Sydnie
Peters was humiliated, became
withdrawn, and was shunned by her
classmates at school. Things became
so bad that Sydnie ended up

changing schools.

Marcereau Decl. at 910

Exhibit 4 - Trial Testimony of Kelli
Peters [p. 83:20-p.84:15; p.85:9-26;
p.86:6-10; p. 87:3-p.90:7; p.90:24-
p.91:6; p.91:14-25.]

pleaded guilty to felony faise
imprisonment through fraud and

deceit pursuant to Penal Code §

9. On or about June 16, 2012, the « Marcereau Decl. at { 9.
Irvine police arrested Kent and Jill
Easter.

10. On October 30, 2013, Jill Easter e Exhibit3 42.

5

PLAINTIFFS’ MEMORANDUM OF POINT AND AUTHORITIES IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

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UNDISPUTED FACTS SUPPORTING EVIDENCE

236/237a for the drug-planting

scheme against Kelli Peters.

Easter on August 3, 2012, in the
Superior Court for the State of
California, County of Orange, Case
No. 30-2012-00588580-CU-PO-
CIC, (the “State Court Action”),
alleging causes of action for false
imprisonment and intentional
infliction of emotional distress
regarding the Easter’s plot to frame

Kelli Peters. Plaintiffs sought both

11. Kent Easter was a defendant the « Marcereau Decl. at { 7.
criminal trial regarding the drug e« Exhibit 3 3.
planting scheme. He hired counsel | Trial Testimony of Kent Easter Ex. 5
to represent him in the trial, and [p.194:26: p.195:2
atiended the trial.
12. On September 10, 2014, Kent Easter |e Id.
was found guilty of felony false
imprisonment through fraud and
deceit (Penal Code 236/237a) in
Orange County Superior Court, Case
No. 12ZF0153, for the drug-planting
scheme against Kelli Peters.
13. Plaintiffs sued Kent Easter and Jill e Marcereau Decl. at 92

6

PLAINTIFFS’ MEMORANDUM OF POINT AND AUTHORITIES IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

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UNDISPUTED FACTS

SUPPORTING EVIDENCE

compensatory and punitive damages.

14,

In light of their criminal convictions
and the overwhelming evidence
against them, on January 26, 2016,
Kent Easter and Jill Easter stipulated
that they intentionally and willfully
tried to frame Kelli Peters for drug
possession and made a false report to
police, and stipulated to liability for
the torts of False Imprisonment and
Intentional Infliction of Emotional
distress as to Kelli Peters, Bill Peters
and Sydnie Peters. The Easters,
however, disputed the amount of

damages that should be awarded.

Marcereau Decl. at ¥ 8; Exhibit 3.

15.

The parties’ jury trial commenced on
February 1, 2016 and concluded on
February 5, 2016. Easter actively
participated in all stages of discovery
and trial in the State Court Action.
Easter had an opportunity to, and
did, testify and present his own
evidence during the trial in the State

Court Action.

Marcereau Decl. at { 3.

16.

During the trial, Kent Easter

Exhibit 3 44.

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PLAINTIFFS’ MEMORANDUM OF POINT AND AUTHORITIES IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

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UNDISPUTED FACTS

SUPPORTING EVIDENCE

admitted that he attempted to frame
Kelli Peters for crimes she didn’t
commit, and that he intended to

cause her harm.

Exhibit 5 Trial Testimony of Kent
Easter [p.191:11-16 and p.284:14-18.]

17.

At the conclusion of the trial, the
jury awarded Kelli Peters $365,000
for faise imprisonment, and
$800,000 for intentional infliction of
emotional distress. The jury awarded
Sydnie Peters $600,000 for
intentional infliction of emotional
distress. The jury awarded Bill
Peters $365,000 for Intentional

Infliction of Emotional Distress.

Marcereau Decl. at { 5.

Exhibit 1.

18.

The jury found that Kent Easter
engaged in the conduct with malice,
oppression or fraud. The jury
awarded Plaintiffs $1.5 million in
punitive damages against Kent

Easter.

Id.

19.

Judgment on the jury verdict was
entered on February 29, 2016. Kelli
Peters received a judgment of

$800,000 against Kent Easter and Jill

Marcereau Decl. at 6.
Exhibit 2

8

PLAINTIFFS’ MEMORANDUM OF POINT AND AUTHORITIES IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

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UNDISPUTED FACTS

SUPPORTING EVIDENCE

Easter, jointly and severally. Sydnie
Peters received a judgment of
$600,000 against Kent Easter and Jill
Easter, jointly and severally. Bill
Peters received a judgment of
$365,000 against Kent Easter and Jill

Easter, jointly and severally.

20.

Plaintiffs jointly received a judgment
of $1.5 million in punitive damages

against Kent Easter.

Id.

21.

The judgment states that Plaintiffs
shall have and recover post-
judgment interest of 10% per annum
from the date of entry of the
judgment until paid.

Id.

Dated: October 4, 2016

9

MARCEREAU & NAZIF

/s/ Robert H. Marcereau
Robert H. Marcereau
Attorneys for Plaintiffs

PLAINTIFFS’ MEMORANDUM OF POINT AND AUTHORITIES IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): PLAINTIFF'S SEPARATE STATEMENT OF
UNDISPUTED FACTS IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d)}; and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregcing document will be served by the court via NEF and hyperlink to the document. On (date)
10/04/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

[] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 10/4/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor: Kent Wycliffe Easter, 153 Baywood Dr., Newport Beach, CA 92660

Trustee: Weneta M.A. Kosmala, P.O. Box 16279, Irvine, CA 92623,

Judge: Hon. Erithe A. Smith, U.S. Bankruptcy Court Central District, 411 W. Fourth St., Suite 5040 / Ctrm 5A
Santa Ana, CA 92701-4593

[-] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 10/04/16 | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail fo, the judge will be completed no later than 24 hours after the document is filed.

10/4/2016 Nicole Lipowski
Date Printed Name

This form is mandatory. Ii has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
